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Attomey for De fendant
JANETH BREWER

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

THE UNITED sTATEs or AMERICA, ) CASE No_= cRn--;Gz-Psc
_ _ )
Plamtlff» ) DEFENDANT’s sENTENCrNG
V § MEMOMNDUM
)
Date: Au ust25 2014
ANETH BREWER, g 1
J § Time: 10:00 A.M.
Defendam_ ) Dcpt.: Counroom of the HONORABLE
) PHILIP s.ouTrERREZ,UNiTED
§ sTATEs DISTRICT COURT JUDGE
)

 

Defendant Janeth Brewer hereby presents her sentencing memorandum Probation has
concluded that the final guideline calculation is a level 19 criminal history l resulting in a
sentencing ranging of 30-37 months and has recommended the low end of 30 months.

The defendant has reviewed the sentencing memorandum of the Assistant United Statcs
Attorney and requests an additional two level departure resulting in a final guideline offense
range 11 with a sentencing options from 8 to 14 months. and seeking the low end of 8 months as
a-sentence. Several of the reasons have already been included in thc presentence report and in the
govemment’s memorandum however we are also asking the court to consider other factors under

§ISU.S.C. 3553(3) to arrive at a final offense level of 11. We believe that the suggested offense

level would afford adequate deterrence for future criminal conduct and protect the public from

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DEFENDANT’S SENTENCING MEMORANDUM

 

 

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further crimes of the defendant

The defendant also cares for her two daughters and her niece and nephews and has a hill
time job. The sentence that we are seeking would assist her in making restitution payments as per
the order. We are in accord with the restitution amounts Suggested by the Prohation Department
and by the Assistant United States Attorney.

lf` the court seeks to adopt our sentencing recommendations then according to the
sentencing table of the United States Sentencing Guidelines, the defendant would have an
offense level of 1 l. criminal category l, and-a sentencing range of 8-14 months. Pursuant to the
guideline manuals section §SCI .1 the imposition of the term of imprisonment can be Satisfied
under Zone B of` the sentencing table by a sentence of §5C1.1(c)(2) “a sentence of imprisonment
that includes a term of supervised release with a condition that substitutes community
coniinernent or home detention according to the schedule in subsection e provided that at least 1
month is satisfied by imprisonment”.

Since criminal history 11 falls within Zone B of the sentencing guideline`s, that particular
section would be applicable to the defendant’s case. Therefore we are requesting the court to rule
that defendant serve l month by imprisonment and the balance of her sentence at home detention

according to the schedule in subsection e.

DATED: Augus_t 21 , 2014 Respectfully submitted,

' aaa mrs

RICHARD E. NAHIGIAN
Attorney for Def`endant

JANETl-I BREWER

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DEFENDAJ~i-r_’s_snr~irni§icmo MEMORANDUM

 

 

 

